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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                                      :
JAKUB MADEJ                                           :        CIVIL ACTION NO.
                                                      :        3:20-cv-00133-JCH
                                                      :
                      PLAINTIFF                       :
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, MARVIN CHUN,                         :
MARK SCHENKER, PETER SALOVEY AND                      :
JESSIE ROYCE HILL                                     :
                                                      :
                      DEFENDANTS                      :        DECEMBER 7, 2020
                                                      :

                                  MOTION TO QUASH

       The non-party witness, Sarah Insley, hereby moves to quash the November 30, 2020 and

December 2, 2020 Notices of Deposition for her deposition for the reasons stated in the

defendants’ Memorandum of Law in Support of Motion to Quash and Motion for Order

Regarding Depositions. Dean Insley hereby incorporates and adopts the arguments set forth in

Section I of the defendants’ memorandum of law in support of this motion to quash her

deposition noticed for December 16, 2020. See, ECF No. 192-1, p. 1-5.




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                                         JURIS NO. 415438
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                                                THE NON-PARTY WITNESS,

                                                SARAH INSLEY

                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
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                                                Telephone: (203) 458-9168
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                                                Email: pnoonan@ddnctlaw.com




                                    CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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